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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION



COIN CENTER; PATRICK
O’SULLIVAN; JOHN DOE; and
DAVID HOFFMAN,
               Plaintiffs,                         Case No. __________________

                    v.

JANET YELLEN, in her official
capacity as Secretary of the Treasury;
DEPARTMENT OF THE
TREASURY; ANDREA M. GACKI,
in her official capacity as Director of
the Office of Foreign Assets Control;
and OFFICE OF FOREIGN
ASSETS CONTROL,
                      Defendants.


                                    COMPLAINT
      Plaintiffs file this complaint for declaratory and injunctive relief against

Defendants and allege as follows.


                           NATURE OF THE ACTION
      1.     On August 8, 2022, the Biden Administration criminalized the use of

Tornado Cash, an open-source software tool that helps Americans maintain their

privacy while using cryptocurrency and related assets. It justified this action based on

its power to sanction foreign enemies, even though Tornado Cash is not controlled by
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foreign enemies and Americans’ use of the technology does not involve foreign

enemies. The Administration’s use of the foreign-affairs power to punish domestic

cryptocurrency users was unprecedented and unlawful.

      2.      Plaintiffs all use Ethereum. Ethereum is a digital marketplace that uses

shared online technology to help people order their finances without needing to trust

banks, governments, or other third parties. It enables transactions involving

cryptocurrency and other similar crypto assets. Tens of millions of Americans, from

Tom Brady to local retailers, use Ethereum.

      3.     Ethereum’s functionality depends on a transparent public ledger. When

someone completes a transaction using Ethereum, that transaction is posted to a

ledger visible to anyone. The transaction can’t be erased or hidden from view.

Although users transact using pseudonymous addresses, there are a variety of ways to

connect a person’s identity—and therefore to all his transactions and assets—to his

address on the public ledger.

      4.     If a user doesn’t take proactive steps to protect his privacy, the ledger’s

transparency allows strangers to track his private associations and stalk his intimate

relations. It invites publicization of and retaliation for his private contributions to

unpopular causes. And it allows anyone to see whether he has a lot of assets, which

would put a target on his back.

      5.     To protect themselves, users of Ethereum employ privacy tools. These

tools generally allow users to clear any publicly discernible connection between their

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past and future transactions. They do this by making transactions by the same person

appear unrelated, thereby stymying bad actors who seek to track, stalk, retaliate, and

endanger.

      6.     Tornado Cash is the state-of-the-art privacy tool on Ethereum. It is a

software program permanently stored on the Ethereum ledger, so it can be accessed

or used by anyone. To use Tornado Cash, a user moves his crypto assets to a Tornado

Cash address. There are at least 20 such addresses, each for a different type of crypto

asset or a different amount thereof. After moving his asset to that address, the user

can then direct the asset’s release to a new address, controlled either by him or by

someone he wishes to receive the asset.

      7.     To anyone viewing the public ledger, it is impossible to tell when the

person retrieved his asset or which new address it went to. Once it arrives at the new

address, it cannot be connected to the earlier address using publicly available data. If

the user wishes to relink the two addresses and prove that both were his, he can do so,

selectively revealing his identity, but no stranger can perform this re-identification

without his consent.

      8.     Nobody controls Tornado Cash. It is an immutable tool that

automatically executes according to the user’s wishes. The tool is software residing on

the Ethereum blockchain at specified Ethereum addresses. Anyone with an internet

connection can move digital assets to those addresses and the software will

automatically perform the aforementioned steps to protect the user’s privacy.

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Throughout this entire process no human, apart from the user, is empowered or relied

upon to hold or move the assets.

      9.     Cryptocurrencies like Bitcoin are known, in part, for creating irreversible

transactions that, once confirmed in the shared public ledger online, cannot be

canceled, withdrawn, altered, or rescinded by the sender or any third party. This

quality is often referred to as immutability. Ethereum takes this capability a step

further and allows technologists to publish immutable software tools to the public

ledger. Once published, these tools are available for anyone with an internet

connection to use, and they will perform exactly as the rules in their software

command. No person can alter their functionality or remove their availability, just as

no person can reverse or rescind a cryptocurrency payment.

      10.    The International Emergency Economic Powers Act of 1977, which is

the statutory descendant of the Trading with the Enemy Act of 1917, allows the

President to restrict trade with foreign enemies under emergency conditions.

      11.    As relevant here, it authorizes the President to “declar[e] a national

emergency with respect to” an “unusual and extraordinary” foreign threat. 50 U.S.C.

§1701(a).

      12.    Once the President declares that emergency, the Act allows him to

criminalize certain transactions, but only if the transactions include “any property in

which any foreign country or a national thereof has any interest.” §1702(a)(1).



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       13.     Under executive delegations and regulations, Defendants exercise a

subpart of the President’s power under IEEPA. Specifically, under certain conditions,

Defendants can criminalize transactions that fall within the scope of the statute, but

only by designating “persons” with whom Americans cannot trade. 31 C.F.R.

§578.201(a).

       14.     Invoking this authority last August, Defendants criminalized all

transactions involving 38 Ethereum addresses. Those 38 addresses include the 20

addresses that constitute the core of the Tornado Cash privacy tool—the same ones

described above and that are at issue in this lawsuit.

       15.     As a result of the Biden Administration’s action, Americans who use

Tornado Cash to protect their privacy while using their own assets are criminals.

Additionally, their receipt of any asset through Tornado Cash, even one from a

stranger that they did not solicit, is a federal crime. And their use of Tornado Cash to

protect their expressive activities is criminal as well.

       16.     Defendants’ action was unlawful for four main reasons.

       17.     First, Defendants’ criminalization of Tornado Cash exceeded their

statutory authority because Tornado Cash is used to complete functions that do not

include “any property in which any foreign country or a national thereof has any

interest.” 50 U.S.C. §1702(a)(1). Americans use Tornado Cash unilaterally to protect

their own property. Defendants’ defiance of this statutory element assumes an



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authority that would give them virtually unlimited control to regulate the American

economy.

      18.       Second, Defendants’ criminalization of Tornado Cash also exceeded

their regulatory authority because Tornado Cash is not a “person.” 31 C.F.R.

§578.201(a). It is a privacy tool beyond the control of anyone.

      19.       Third, Defendants’ criminalization of Tornado Cash was arbitrary and

capricious because it failed to consider important aspects of the problem, changed its

position without explanation, and defied its own rules on the books.

      20.       And fourth, Defendants’ criminalization of Tornado Cash violated the

constitutional rights of Tornado Cash users who need it to protect their private

associations.

      21.       Plaintiffs all would have used or continued to use Tornado Cash to

protect their privacy in the future, but are prevented from doing so as a result of the

Biden Administration’s criminalization of Tornado Cash.

      22.       They respectfully request that this Court hold unlawful, set aside, and

permanently enjoin the enforcement of the criminalization of Tornado Cash.


                                    THE PARTIES
      23.       Plaintiff Coin Center is the leading nonprofit research and advocacy

center focused on the public-policy issues facing cryptocurrency and decentralized

computing technologies. It defends the rights of individuals to build and use free and



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open cryptocurrency networks, including the right to write and publish code, the right

to assemble into peer-to-peer networks, and the right to do all this privately. Coin

Center produces and publishes research, educates policymakers and the media about

cryptocurrencies, advocates for sound public policy, and defends digital civil liberties.

It is based in Washington, D.C.

      24.    Coin Center uses Ethereum. It routinely receives contributions from

donors in the form of crypto assets.

      25.    Many of Coin Center’s donors want to keep their contributions private.

They value privacy, both when it comes to public knowledge of their crypto assets and

public knowledge of their expressive associations. Many of them engage in

transactions that can be traced on Ethereum’s public ledger with the assets that they

intend to contribute to Coin Center.

      26.    Coin Center’s donors therefore used in the past, and would use in the

future, Tornado Cash to protect their privacy. They would send a crypto asset to a

Tornado Cash address, and then release it to an address controlled by Coin Center. It

is impossible to tell whose assets are being sent to Coin Center’s account when they

come from a Tornado Cash address.

      27.    As a result of the Biden Administration’s criminalization of Tornado

Cash, these donors are less likely to contribute to Coin Center. They are effectively

barred from engaging in expressive advocacy because, without Tornado Cash, they

cannot do so with confidence that their associations will remain private. By forcing

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them to make contributions on the public ledger, the Biden Administration’s

criminalization of Tornado Cash chills their expressive activity. Coin Center expects to

lose contributions from these donors.

       28.    Coin Center is not a terrorist or a criminal and does not transact with

terrorists or criminals. In the course of receiving contributions through Tornado Cash

from American donors, the donors’ and Coin Center’s assets would never come under

the control of any foreign person.

       29.    Plaintiff Patrick O’Sullivan is a software developer who resides in

Escambia County, Florida.

       30.    Mr. O’Sullivan uses Ethereum. He is routinely paid by his employer in

crypto assets, and he routinely obtains crypto assets from public exchanges.

       31.    Mr. O’Sullivan’s use of Ethereum can be monitored on Ethereum’s

public ledger. Mr. O’Sullivan shares his Ethereum addresses with other parties,

transfers assets to himself from accounts with third parties who hold his personal

information, and is a publicly known user and developer of Ethereum-related

technology. As a result, Mr. O’Sullivan’s transactions and assets can easily be tracked

by the public at large.

       32.    He therefore routinely uses privacy tools to protect himself and his

family. He has used a number of privacy tools, each of which has its own advantages.

       33.     Mr. O’Sullivan believes that the best practice for protecting his privacy is

to use multiple privacy tools. Mr. O’Sullivan believes that Tornado Cash is one of the

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best options for protecting his privacy. And Mr. O’Sullivan does not believe that

alternatives, standing alone, would provide him with adequate privacy and security. He

therefore intended to use Tornado Cash in his regular rotation of privacy tools.

      34.    Mr. O’Sullivan intended to move assets from an address under his

control to a Tornado Cash address and then later release them to a new address, also

under his control. At no point would these assets have been controlled by anyone else.

      35.    All of Mr. O’Sullivan’s crypto assets come from his American employer

or from public exchanges. He is not a terrorist or a criminal and does not transact

with terrorists or criminals. In using Tornado Cash, his assets would never come

under the control of any other person, including any foreign person.

      36.    As a result of Defendants’ action, Mr. O’Sullivan cannot carry out his

intended uses of Tornado Cash.

      37.    John Doe is a human-rights advocate who resides in the southeastern

United States. Mr. Doe is proceeding anonymously because he credibly fears that, if

his identity is exposed, Russian agents will learn about his pro-Ukranian activities and

will harm him and his family.

      38.    After Russia invaded Ukraine, Mr. Doe began providing and

coordinating support for Ukrainians under attack. Since April 2022, he has been

supporting Ukrainians personally and has facilitated sizable crypto donations from

other donors. He and his donors call themselves the 688th Support Brigade.



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       39.    Mr. Doe provides and facilitates donations that go to supporting the

most urgent needs of Ukrainians at war. His efforts have paid for gloves, shoes,

helmets, drones, and vehicles to assist Ukrainian frontline efforts. While many say they

support Ukraine, Mr. Doe and his donors are actually doing something about it.

       40.    Crypto donations to Ukraine have made a substantial positive impact. As

Senator Toomey recently recounted in a congressional hearing, “While there has been

virtually no evidence of Russia meaningfully using cryptocurrencies to evade

sanctions, Ukraine has been actively utilizing cryptocurrencies to do tremendous

good. Cryptocurrency donations for Ukraine have reached approximately $100

million, which has helped Ukrainians defend their country against Russia’s invasion.

These funds have gone towards more than 5,500 bulletproof vests, 500 helmets, and

410,000 meals, among other things. Ukraine’s Deputy Minister of Digital

Transformation has said that ‘each and every helmet and vest bought via crypto

donations is currently saving Ukrainian soldiers’ lives.’”

       41.    Mr. Doe and the donors he assists came to the mutual agreement that

donating to Ukrainians could jeopardize their and their families’ safety. Without

privacy protections, Russian agents and Russian-funded hackers could identify and

retaliate against donors for providing frontline aid. If the donors’ identities were

revealed, their lives could be in danger when they travel abroad and they could be

targeted by hackers. Mr. Doe’s donors want to support Ukraine without fear of being

harmed. They also inherently value making contributions privately.

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       42.    Every single donor has used Tornado Cash. Under Mr. Doe’s direction, a

donor will move his crypto asset to a Tornado Cash address, then later release it from

that address to an account controlled by Mr. Doe exclusively for the provision of aid.

From that latter account, Mr. Doe can send the assets to recipients who purchase the

aid for Ukraine. It is impossible for an outside observer to tell whose assets are being

sent to the latter account because they all come through a Tornado Cash address.

       43.    Mr. Doe himself has contributed to these efforts using Tornado Cash.

He has moved assets from a personal address to a Tornado Cash address, and then

released those assets from the Tornado Cash address to his address that he uses

exclusively for the provision of aid. He intended to continue doing so.

       44.    Mr. Doe is not a terrorist or a criminal and does not transact with

terrorists or criminals. In the course of using Tornado Cash for his own contributions,

his assets would never come under the control of any other person, including any

foreign person. In the course of using Tornado Cash for contributions by other

American donors, their assets would never come under the control of any foreign

person.

       45.    As a result of the Biden Administration’s criminalization of Tornado

Cash, donations have stopped. Mr. Doe is not comfortable facilitating donations

without the protection of Tornado Cash. He is not confident that any alternative

tools, standing alone, will provide a sufficient level of privacy or security.



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       46.   Plaintiff David Hoffman is a crypto asset investor and entrepreneur who

resides in New York.

       47.   Mr. Hoffman uses Ethereum publicly. Like many users, Mr. Hoffman

makes one of his Ethereum addresses public, so that anyone can access it online and

transact with him.

       48.   After the Biden Administration criminalized Tornado Cash, an unknown

person sent crypto assets to Mr. Hoffman’s public address through Tornado Cash.

And Ethereum users like Mr. Hoffman have no ability to reject incoming transfers. So

the criminalization of Tornado Cash empowered someone else to implicate Mr.

Hoffman and force reporting obligations on him by causing him to receive an asset

from a sanctioned entity. And it has licensed anyone else who wishes to harass or

inconvenience Mr. Hoffman to continue to send crypto assets through Tornado Cash

to Mr. Hoffman’s publicly known addresses, each time triggering potential liability and

reporting obligations.

       49.   Mr. Hoffman intended to continue to use Tornado Cash in the future.

He routinely uses privacy tools to protect himself while using crypto assets. Mr.

Hoffman believes that Tornado Cash is a uniquely effective tool for protecting his

privacy.

       50.   Mr. Hoffman intended to move assets from an address under his control

to a Tornado Cash address and then later withdraw them to a new address, also under

his control. At no point would these assets have been controlled by anyone else.

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        51.   Mr. Hoffman is not a terrorist or a criminal and does not transact with

terrorists or criminals. And in using Tornado Cash, his assets would never come under

the control of any other person, including any foreign person.

        52.   As a result of Defendants’ criminalization, Mr. Hoffman is burdened

with potential civil and criminal liability through no fault of his own, saddled with

reporting obligations, and impeded from carrying out his intended use of Tornado

Cash.

        53.   Defendants—Janet Yellen, in her official capacity as Secretary of the

Treasury; U.S. Department of the Treasury; Andrea M. Gacki, in her official capacity

as Director of the Office of Foreign Assets Control, and the Office of Foreign Assets

Control—are responsible for the enforcement and administration of the

criminalization of Tornado Cash. Treasury is a federal administrative agency, and

OFAC is an agency within Treasury. Both Treasury and OFAC are headquartered in

Washington, D.C. Defendants acted under color of law at all relevant times.

        54.   The criminalization of Tornado Cash constituted final agency action.


                          JURISDICTION AND VENUE
        55.   This action arises under the Administrative Procedure Act, 5 U.S.C. §500

et seq., and the United States Constitution.

        56.   This Court has jurisdiction under 28 U.S.C. §1331.




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       57.    Venue is proper in this District under 28 U.S.C. §1391(e)(1) because

Plaintiff O’Sullivan resides here and Defendants are federal agencies and officers

acting in their official capacities.


                                       BACKGROUND
       58.    Ethereum is a digital marketplace. It uses shared online technology to

help people transact and order their finances. It hosts transactions involving

cryptocurrency and other assets that use cryptographic technology.

       59.    Ethereum allows people to transact across long distances without

middlemen. It allows people to protect against inflation by using a store of value

whose supply cannot be increased by any central bank. It allows people to structure

advanced financial transactions and enforce the terms of their agreements with

certainty. And it allows anyone with an internet connection to participate, regardless

of their race, religion, or social status.

       60.    “Ethereum is arguably the most crucial platform in the crypto industry.”

Yaffe-Bellany, Crypto’s Long-Awaited ‘Merge’ Reaches the Finish Line, N.Y. Times (Sept. 15,

2022), nyti.ms/3fbOnGm. It is used by tens of millions of Americans. It facilitates

transactions involving Ether, the second most common cryptocurrency in America.

The present value of Ether is around $200 billion, or about the value of McDonald’s.

It also facilitates transactions involving a wide range of additional crypto assets.




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       61.    To use Ethereum, a person creates an address, which is a personal

account that only they can access and use. The address uses a pseudonym so that it

can’t be immediately traced to the person who uses it.

       62.    Ethereum’s functionality depends on a transparent public ledger. When

someone completes an Ethereum transaction, that transaction is posted to a public

ledger visible to anyone, alongside his address. That transaction can’t be erased or

hidden from view.

       63.    Although a person transacts using a pseudonymous address, there are a

variety of ways to connect a person’s identity to his address. In fact, users are

sometimes required by law to disclose their identity when using cryptocurrency. Once

outsiders connect a person’s identity to the address that he uses, they can inspect all of

the user’s transactions and assets.

       64.    Users who don’t use privacy tools can therefore face risks. The

transparent nature of the public ledger has allowed violent burglars to identify people

holding valuable crypto assets, and even torture them in front of their families until

they hand over access to their crypto assets. E.g., Higgins, Man Stole $1.8 Million in

Ether After Armed Robbery, Prosecutors Say, CoinDesk (Dec. 13, 2017), bit.ly/3farJhI;

Kramer, Dutch Bitcoin Trader Suffers Brutal Torture with a ‘Heavy Drill’ in Violent Robbery,

Yahoo! (Feb. 25, 2019), yhoo.it/3SsIK5k. It can also allow unwanted snooping on

private relationships and intimate transactions.



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       65.    That’s where Tornado Cash comes in. Tornado Cash is a tool that allows

users of cryptocurrency to protect themselves from being followed in everything that

they do. It allows them to clear any discernible connection between their past

transactions and their future transactions. They route an asset through a Tornado

Cash address and then can release it to a new, apparently unconnected address at a

later date.

       66.    To anyone attempting to track the user, they will see that he moved some

asset to a Tornado Cash address, but will not know which release from that address

was under his control because it will be released to a new address with no connection

to the user’s earlier activities. All that an outsider will see on the public ledger is

something like the following:

       Time 1: [1 Ether] Known User Address → Tornado Cash Address

       Time 2: [1 Ether] Tornado Cash Address → New Address

The user also provides, at Time 2, for the release of the asset to an address under his

control or someone else’s control. The user also controls how long to wait between

Time 1 and Time 2. In between those two times, other users will also move and

release funds from Tornado Cash, so any given user’s two transactions will appear

unrelated.

       67.    There are at least 20 addresses that make up the core of Tornado Cash.

Each address corresponds to a certain fixed amount of a certain crypto asset, so each

user using any given Tornado Cash address will move the same amount, such as 1

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unit, and then release the same amount later on. This makes each interaction with any

given address look indistinguishable.

      68.    Throughout the duration of his use of Tornado Cash, the original user

retains complete control of his assets. When he moves assets to a Tornado Cash

address, he retains the ability to release them at any time. Tornado Cash is not like a

bank that lends and invests assets once it receives them; nor does it ever mix or

commingle different people’s assets together. So from the user’s perspective, it’s like a

safe that keeps his asset secure and that only he can unlock.

      69.    Nobody controls Tornado Cash. It consists of computer code that

self-executes on the user’s command. Nobody can rewrite the Tornado Cash software

to change how it works. And nobody can remove the Tornado Cash software. It is

permanent, immutable, and automatic.

      70.    Thanks to Tornado Cash, people can use Ethereum without worrying

about the safety of themselves and their families. They can keep their personal

contributions and associations private. And they can rest assured that their activities

will not be tracked by bad actors who might do them harm.

      71.    Many Ethereum users use Tornado Cash routinely to keep their assets

private and secure. It is widely regarded as a good practice for anyone who wishes to

participate in Ethereum responsibly.

      72.    Like every good technology in human history, Tornado Cash is used by

some people to do bad things. Tornado Cash makes it harder to follow what all users

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are doing, so it makes it harder to follow what criminals are doing. But like other good

technologies, it provides innumerable benefits to law-abiding Americans, and their use

is understandable and appropriate.

      73.    For some time, it was widely believed that the United States would lead

the way in embracing Ethereum and other crypto assets. Many American governors,

legislators, mayors, and public figures have celebrated America’s pioneering role in the

use of cryptocurrency. See, e.g., Gov. DeSantis Seeks ‘Crypto Friendly’ Florida, CBS Miami

(Dec. 10, 2021), cbsloc.al/3riBn52; Stewart, Cryptocurrency Gets Warm Texas Welcome

from Gov. Abbott, Houston Chronicle (Jun. 22, 2021), bit.ly/3O0vtzk; Yaffe-Bellany, The

Rise of the Crypto Mayors, N.Y. Times (Jan. 25, 2022), nyti.ms/3O4MUyB.

      74.    But America’s leading role has been thrown into reverse by the Biden

Administration’s recent efforts to punish crypto users. For a variety of political

reasons, the Administration has sought to hyper-regulate and criminalize common

uses of cryptocurrency. Klein, How Biden’s Executive Order on Cryptocurrency May Impact

the Fate of Digital Currency and Assets, Brookings (Mar. 17, 2022), brook.gs/3vaMxKl;

Hall, Biden Administration Targets Bitcoin Mining In New Report, Nasdaq (Sept. 21, 2022),

bit.ly/3S31DvE. Warmbrodt, Elizabeth Warren’s Anti-crypto Crusade Splits the Left,

Politico (Mar. 15, 2022), politi.co/3xlCPaF.

      75.    Perhaps no attack on the crypto world has been as severe as the August

8, 2022 criminalization of Tornado Cash.



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       76.   Under the International Emergency Economic Powers Act, the

President can take certain actions after “declar[ing] a national emergency with respect

to” an “unusual and extraordinary threat, which has its source in whole or substantial

part outside the United States, to the national security, foreign policy, or economy of

the United States.” 50 U.S.C. §1701(a).

       77.   After declaring an emergency, the President can take certain actions.

§1702(a)(1). As relevant here, the President can prohibit transactions subject to

American jurisdiction, but only if those transactions include “any property in which

any foreign country or a national thereof has any interest.” Id. The President cannot

prohibit transactions that include no foreign property, such as transactions among

Americans or activities by a single American with respect to his own property.

       78.   In full, and broken down by element, the statute authorizes the President

to:

       investigate, block during the pendency of an investigation, regulate, direct and
       compel, nullify, void, prevent or prohibit

       any acquisition, holding, withholding, use, transfer, withdrawal, transportation,
       importation or exportation of, or dealing in, or exercising any right, power, or
       privilege with respect to, or transactions involving,

       any property in which any foreign country or a national thereof has any
       interest

       by any person, or with respect to any property, subject to the jurisdiction of the
       United States.

§1702(a)(1)(B) (emphasis added).


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      79.    In 2015, President Obama declared a national emergency with regard to

“cyber-enabled” activities originating from abroad. See Exec. Order 13694, 80 Fed.

Reg. 18,077 (Apr. 2, 2015).

      80.    President Obama also delegated some of his power under §1702(a)(1) to

the Secretary of the Treasury. Id. at 18,077-18,078. In his Executive Order, President

Obama authorized the Secretary of the Treasury to identify “person[s]” involved in

qualifying cyber-enabled activities. Id. He then authorized the Secretary to “bloc[k]”

the “property and interests in property” of any of those identified persons.Id.

      81.    The Secretary of Treasury in turn delegated that authority to the

Director of OFAC and enacted regulations to govern the exercise of that authority. See

31 C.F.R. §§578.802, 578.201 et seq.

      82.    As relevant here, those regulations provide that, under certain

conditions, Defendants can criminalize transactions that fall within the scope of the

statute. But they can do so only by designating “persons” with whom Americans

cannot trade. This was the law when Tornado Cash was criminalized (see 80 Fed. Reg.

81,752, 81,754 (Dec. 31, 2015)) and was confirmed as the law in updated regulations

issued subsequent to that criminalization. 31 C.F.R. §578.201(a) (effective Sept. 6,

2022). The term “person” means only an “individual or entity.” §578.313. It does not

cover an idea, a tool, or a technology.




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       83.    The Director of OFAC maintains a Specially Designated Nationals and

Blocked Persons List, which in turn designates persons pursuant to IEEPA (and other

statutes).

       84.    Adding a person to the List criminalizes transactions with that person. If

an American transacts with a person on the List, he commits a federal felony

punishable by up to 20 years in prison and a $1,000,000 fine. Americans are also

required to block any property or interests in property of that designated person, and

are required to report any such blocked property in their possession or control to

OFAC. See 31 C.F.R. §578.201; id. §578.701; id. §501.101 et seq.; 87 Fed. Reg. 54,373

(Sept. 6, 2022).

       85.    Some earlier designations on the List include Vladimir Putin, Saddam

Hussein, Bashar al Assad, Qasem Soleimani, and Muammar Gaddafi. See OFAC

Specially Designated Nationals and Blocked Persons List, bit.ly/3QNEZGe.

       86.    As a result of these designations, it would be a felony for an American

to, for example, sell a house to Vladimir Putin.

       87.    But on August 8, 2022, OFAC made a new and unprecedented kind of

designation. It added “Tornado Cash” to the List. See U.S. Treasury Sanctions Notorious

Virtual Currency Mixer Tornado Cash, OFAC (Aug. 8, 2022), bit.ly/3eP6T7r. Its

designation included 38 Ethereum addresses.

       88.    In its press release, OFAC did not appear to understand what it was

designating. It referred to Tornado Cash as a “blocked perso[n],” id., and described its

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“willingness to remove” Tornado Cash if it demonstrated “a positive change in

behavior,” id., even though Tornado Cash is merely a widely available software tool,

lacking agency and not controlled by anyone.

      89.    The 38 designated addresses include 20 addresses at issue in this lawsuit.

Those 20 addresses constitute the core of Tornado Cash. They are identified in full in

the appendix to this complaint. Each allows users to move assets and later release

assets to a new address using the same basic tool known as Tornado Cash.

      90.    The other 18 addresses are either non-functional, serve other purposes,

can be controlled by someone, or share all of these characteristics. For purposes of

this lawsuit, Plaintiffs do not challenge Defendants’ claim that transactions with those

18 addresses involve qualifying foreign property and involve persons within

Defendants’ authority.

      91.    But each of the 20 Tornado Cash addresses at issue here are immutable

and operate automatically. They are used to complete functions that do not involve

any property in which any foreign country or national thereof has any interest. The

addresses are not themselves property. None is a person, none identifies a person, and

none is controlled by any person. They are therefore beyond the scope of Defendants’

statutory and regulatory authority to criminalize.

      92.    But as a result of the Biden Administration’s action, using these

addresses is now criminal. No Ethereum user subject to American jurisdiction can

lawfully use Tornado Cash for any purpose. Plaintiffs and other law-abiding citizens

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are prohibited from depositing, withdrawing, sending, or receiving funds through

Tornado Cash, even when the funds are lawfully obtained and being used for lawful

purposes.

       93.    For users who had moved an asset to Tornado Cash but not yet released

it, they now cannot release their own property. See Frequently Asked Questions No. 1079,

Dep’t of Treasury, bit.ly/3dEKSrE; Fries, OFAC Breaks Its Silence on Funds Locked with

Tornado Cash, Tokenist (Sept. 13, 2022), bit.ly/3dJZTss.

       94.    And for all Americans, it is now a crime to use a helpful privacy tool,

even though they will never transact with any foreigner or any property in which any

foreigner had any interest by virtue of using that tool. See Frequently Asked Questions No.

1077, Dep’t of Treasury (Sept. 13, 2022), bit.ly/3dEKSrE.

       95.    For all Americans, it is now impossible to use the best tool for protecting

their privacy when they engage in expressive associations with crypto assets. They are

chilled from contributing to causes that they support because those contributions will

now be subject to public exposure. By criminalizing this privacy tool, the Biden

Administration has chilled—and in some cases altogether prevented—Americans

from engaging in protected advocacy.

       96.    To justify its action, the Biden Administration explained that the Lazarus

Group, a North Korean criminal organization, used Tornado Cash to cover up its

theft of crypto assets. But neither the Lazarus Group nor any other foreign



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organization has control over Tornado Cash, let alone an interest in transactions that

Americans make with themselves and each other using Tornado Cash.

      97.    Making it a crime for Americans to use Tornado Cash because the

Lazarus Group used Tornado Cash to further its illicit activities is like making it a

crime for Americans to use email because the Lazarus Group used email to further its

illicit activities. Sometimes good tools are used by bad people. That inevitability does

not justify criminalizing every American’s use of those tools, and the law gives

Defendants no such power.

      98.    The criminalization of Tornado Cash, perversely, means that foreign

terrorists can take down parts of the American economy by using our best

technologies and ideas—a kind of new-age heckler’s veto.

      99.    Worse, the criminalization of Tornado Cash does not even prevent

foreign terrorists from using it. It remains online and operable, precisely because

nobody can control it.

      100. The criminalization of Tornado Cash has created far-reaching and

embarrassing consequences. Because Tornado Cash consists of already-published,

self-executing code, it is still operational. The fact that no intermediary is necessary

for Tornado Cash to operate means that anyone can send unsolicited crypto assets

through Tornado Cash to Americans with known Ethereum addresses. In other

words, the Biden Administration has empowered any bad actor to easily subject a

law-abiding American to potential civil and criminal liability and burdensome

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reporting obligations, through no fault of the American’s own—a phenomenon

known as “dusting.”

      101. And that has happened. Soon after the Biden Administration’s

criminalization of Tornado Cash, an unknown person or persons sent small amounts

of crypto assets (“dust”) through Tornado Cash to a wide range of celebrities and

publicly known users of Ethereum. Mack, US Treasury Sanctioning Tornado Cash

Unleashes ‘Max Chaos’ In The Crypto Universe, Forbes (Aug. 9, 2022), bit.ly/3R0dCc8.

      102. For example, unknown actors sent assets through Tornado Cash to

Shaquille O’Neal and Jimmy Fallon. And many Americans who lack the teams of

lawyers that are available to Shaquille O’Neal and Jimmy Fallon were subject to similar

acts. Tan, Someone Is Trolling Celebs by Sending ETH From Tornado Cash, CoinDesk (Aug.

9, 2022), bit.ly/3ffm0XZ; Chow, A New U.S. Crackdown Has Crypto Users Worried About

Their Privacy, Time (Aug. 10, 2022), bit.ly/3LEJxOa.

      103. Because the law imposes strict liability, users who are “dusted” in this

manner still face criminal liability and still have reporting obligations. Treasury

confirmed as much in the FAQs it released on September 13, 2022. In response to a

question about dusting, the FAQs confirm that “[t]echnically, OFAC’s regulations

would apply to these transactions.” All that Treasury could say is that, in its unilateral

discretion, OFAC would not “prioritize enforcement” against dusted individuals

whose reports were merely “delayed.”



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      104. Without judicial relief, the Biden Administration’s action will prevent

Plaintiffs and others who are similarly situated from using Tornado Cash. Ethereum

users will be forced to choose between transacting without the privacy benefits of

Tornado Cash and forgoing the opportunity to engage in valuable and important uses

of Ethereum. They will be chilled in their expressive activities. And they will be

subject to civil and criminal liability and burdensome reporting obligations through no

fault of their own.

      105. The ongoing harms are immediately redressable. An order effectively

requiring Defendants to decriminalize use of the 20 Tornado Cash addresses would

allow Plaintiffs to conduct their legitimate activities with some measure of anonymity,

use their preferred software tool without fear of penalties, and engage in important

expressive associations.

      106. Judicial relief would also serve the public interest by averting harm to

Tornado Cash users who are United States persons, to Ethereum as a freedom and

privacy enhancing technology, and to the important sector of the economy that

depends on Ethereum.




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                                CLAIMS FOR RELIEF
                                     Count One
                                Statutory Authority
                                5 U.S.C. §706(2)(C)
       107. Plaintiffs incorporate and restate all their prior allegations.

       108. Under 50 U.S.C. §1702(a)(1)(B), the President can “investigate, block

during the pendency of an investigation, regulate, direct and compel, nullify, void,

prevent or prohibit,” “any acquisition, holding, withholding, use, transfer, withdrawal,

transportation, importation or exportation of, or dealing in, or exercising any right,

power, or privilege with respect to, or transactions involving,” “any property in which

any foreign country or a national thereof has any interest,” “by any person, or with respect

to any property, subject to the jurisdiction of the United States.” 50 U.S.C.

§1702(a)(1)(B) (emphases added).

       109. Americans’ use of Tornado Cash addresses does not involve “any

property in which any foreign country or a national thereof has any interest.”

       110. Many uses of Tornado Cash involve only a single American. Many

involve transactions among Americans. They are not made with foreign property or in

foreign exchange.

       111. Especially given the economic and political significance of this action

and its application to a technology beyond Defendants’ area of expertise, Defendants

could not justify this action without a “clear congressional authorization.” See West

Virginia v. EPA, 142 S. Ct. 2587, 2608-09 (2022); King v. Burwell, 576 U.S. 473, 486



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(2015). Yet Congress has provided no authorization at all for this regulation of purely

domestic uses of Tornado Cash.

      112. The designation of Tornado Cash was therefore “in excess of statutory

… authority” and must be set aside. 5 U.S.C. §706(2)(C).

                                    Count Two
                                 Contrary to Law
                               5 U.S.C. §706(2)(A)
      113. Plaintiffs incorporate and restate all their prior allegations

      114. Under President Obama’s Executive Order and their own regulations,

Defendants can exercise power under the Act only by designating “persons,” for

whom certain consequences follow. See Exec. Order 13694, 80 Fed. Reg. 18,077 (Apr.

2, 2015); 31 C.F.R. §578.201(a).

      115. The term “person” means only an “individual or entity.” §578.313. It

does not mean an idea, a tool, or a technology.

      116. OFAC thinks that Tornado Cash is a “blocked person[]” that can

“change [its] behavior.” See U.S. Treasury Sanctions Notorious Virtual Currency Mixer

Tornado Cash, OFAC (Aug. 8, 2022), bit.ly/3eP6T7r. It is not.

      117. None of the 20 Tornado Cash addresses listed by Defendants is a

person. They are not an individual or entity, but rather an immutable tool beyond the

control of any person or entity.

      118. The designation of Tornado Cash was therefore “not in accordance with

law” and must be set aside. 5 U.S.C. §706(2)(A).


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                                   Count Three
                             Arbitrary or Capricious
                               5 U.S.C. §706(2)(A)
      119. Plaintiffs incorporate and restate all their prior allegations.

      120. When an agency “entirely fail[s] to consider an important aspect of the

problem,” it acts arbitrarily and capriciously. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

State Farm, 463 U.S. 29, 43 (1983). Defendants failed to consider three important

aspects of the problem when criminalizing Tornado Cash.

      121. First, Defendants failed to consider how their criminalization of the

receipt of assets through Tornado Cash would subject people—including Plaintiff

Hoffman and a wave of public figures—to criminal liability without any voluntary

action on their own part, in violation of the Constitution and half a millennium of

Anglo-Saxon common-law norms. Robinson v. California, 370 U.S. 660, 666 (1962).

      122. Second, Defendants failed to consider how their criminalization of

Tornado Cash would result in a deprivation or seizure of the assets of Americans who

had moved funds to a Tornado Cash address but not yet released them, without any

constitutionally required process.

      123. Third, Defendants failed to consider how their criminalization of a

privacy tool would chill expressive associations and how their criminalization of the

use of the same underlying software at different addresses would chill the right of

Americans to write and publish code freely.




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       124. Defendants also changed their position as to whether they could

sanction a technology, not controlled by any persons. When an agency changes its

position, it acts arbitrarily and capriciously if it does not “display awareness that it is

changing position” and then “show that there are good reasons for the new policy.”

F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009); see Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 221-22 (2016).

       125. Until now, it had been Defendants’ policy to not sanction technologies.

31 C.F.R. §§578.201(a), 578.313. They made this policy clear in their regulations and

public statements. See, e.g., Specially Designated Nationals and Blocked Persons List (SDN)

Human Readable Lists, OFAC, bit.ly/3xRXpz3 (“OFAC publishes a list of individuals and

companies owned or controlled by, or acting for or on behalf of, targeted countries. It

also lists individuals, groups, and entities, such as terrorists and narcotics traffickers.”)

(emphases added).

       126. Defendants did not “display awareness” that they were changing their

position, Fox, 556 U.S. at 515, in sanctioning Tornado Cash. Defendants in fact appear

to continue to believe that Tornado Cash is a “perso[n].” See U.S. Treasury Sanctions

Notorious Virtual Currency Mixer Tornado Cash, OFAC (Aug. 8, 2022), bit.ly/3eP6T7r.

       127. Nor did Defendants “show that there are good reasons for the new

policy.” They provided no reasons at all for the change in course.

       128. Finally, Defendants simply disregarded their own rules requiring that

they exercise their sanction power only by designating “persons.” 31 C.F.R.

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§578.201(a) (“persons”); id. §578.313 (“individual or entity”). When an agency “simply

disregard[s] rules that are still on the books,” it acts arbitrarily and capriciously. Fox,

556 U.S. at 515.

       129. For all these reasons and more, the criminalization of Tornado Cash was

“arbitrary” or “capricious” and must be set aside. 5 U.S.C. §706(2)(A).

                                     Count Four
                                 First Amendment
                 5 U.S.C. §706(2)(A), (B); U.S. Const., amend. I
       130. Plaintiffs incorporate and restate all their prior allegations.

       131. The First Amendment protects Americans’ freedom to associate for “a

wide variety of political, social, economic, educational, religious, and cultural ends.”

Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984). And freedom of association includes a

right to associational privacy. There is a “vital relationship between freedom to

associate and privacy in one’s associations.” Ams. for Prosperity Found. v. Bonta, 141 S. Ct.

2373, 2382 (2021).

       132. Infringements on associational privacy “chil[l] speech by exposing

anonymous donors to harassment and threats of reprisal.” Del. Strong Fams. v. Denn,

136 S. Ct. 2376, 2376 (2016) (Thomas, J., dissental). Individuals have a “strong

associational interest in maintaining the privacy of ” their associational activities.

Gibson v. Fla. Legis. Investigation Comm., 372 U.S. 539, 555-56 (1963). “Inviolability of

privacy in group association” is “indispensable to preservation of freedom of

association.” Bates v. City of Little Rock, 361 U.S. 516, 523 (1960).


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      133. The criminalization of Tornado Cash infringes on associational privacy

by outlawing the use of an essential privacy tool and forcing users of that tool to

disclose their activities to the federal government and the public. It thereby chills the

associational activities of Mr. Doe, Coin Center, and their donors.

      134. Defendants’ action was therefore “not in accordance with law” and

“contrary to constitutional right” and must be set aside. 5 U.S.C. §706(2)(A), (B).


                              PRAYER FOR RELIEF
      Plaintiffs respectfully request that the Court grant the following relief:

      A.     A declaration that the criminalization of Tornado Cash is null, void, and
             with no force or effect;
      B.     A declaration that the criminalization of Tornado Cash is not in
             accordance with law under 5 U.S.C. §706(2)(A); is contrary to
             constitutional right under §706(2)(B); is arbitrary and capricious under
             §706(2)(A); and is in excess of statutory jurisdiction, authority, or
             limitations under §706(2)(C);
      C.     An order vacating and setting aside the criminalization of Tornado Cash.
      D.     An injunction preventing Defendants and their officers, employees, or
             agents from enforcing, implementing, applying, or taking any action
             whatsoever under, or in reliance on, the criminalization of Tornado
             Cash.
      E.     An order awarding Plaintiffs their costs in this action, including
             attorneys’ fees;
      F.     Any other relief that the Court deems just and proper.




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                                            Respectfully submitted,

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                              Appendix: Sanctioned Addresses
*challenged in this lawsuit

             Sanctioned Address                  Description                Immutable?

 1*    0x12D66f87A04A9E220743712c       Tornado.Cash: 0.1 ETH         Yes
       E6d9bB1B5616B8Fc

 2*    0x47CE0C6eD5B0Ce3d3A51fdb        Tornado.Cash: 1 ETH           Yes
       1C52DC66a7c3c2936

 3*    0x910Cbd523D972eb0a6f4cAe46      Tornado.Cash: 10 ETH          Yes
       18aD62622b39DbF

 4*    0xA160cdAB225685dA1d56aa34       Tornado.Cash: 100 ETH         Yes
       2Ad8841c3b53f291

 5*    0xD4B88Df4D29F5CedD685791 Tornado.Cash: 100 DAI                Yes
       2842cff3b20C8Cfa3

 6*    0xFD8610d20aA15b7B2E3Be39        Tornado.Cash: 1000 DAI        Yes
       B396a1bC3516c7144

 7*    0x07687e702b410Fa43f4cB4Af7F Tornado.Cash: 10000 DAI 2         Yes
       A097918ffD2730

 8*    0x23773E65ed146A459791799d0      Tornado.Cash: 100000 DAI      Yes
       1336DB287f25334

 9*    0x22aaA7720ddd5388A3c0A3333 Tornado.Cash: 5000 cDAI            Yes
       430953C68f1849b

 10* 0xBA214C1c1928a32Bffe790263        Tornado.Cash: 50000 cDAI      Yes
     E38B4Af9bFCD659

 11* 0x03893a7c7463AE47D46bc7f09        Tornado.Cash: 50000 cDAI 2    Yes
     1665f1893656003

 12* 0x2717c5e28cf931547B621a5ddd       Tornado.Cash: 500000 cDAI 2   Yes
     b772Ab6A35B701

 13* 0xD21be7248e0197Ee08E0c20D         Tornado.Cash: 5000000 cDAI    Yes
     4a96DEBdaC3D20Af

 14* 0x4736dCf1b7A3d580672CcE6E         Tornado.Cash: 100 USDC        Yes
     7c65cd5cc9cFBa9D

 15* 0xd96f2B1c14Db8458374d9Aca7        Tornado.Cash: 1000 USDC       Yes



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     6E26c3D18364307



16* 0x169AD27A470D064DEDE56a Tornado.Cash: 100 USDT              Yes
    2D3ff727986b15D52B

17* 0x0836222F2B2B24A3F36f98668 Tornado.Cash: 1000 USDT          Yes
    Ed8F0B38D1a872f

18* 0x178169B423a011fff22B9e3F3a   Tornado.Cash: 0.1 WBTC        Yes
    beA13414dDD0F1

19* 0x610B717796ad172B316836AC9 Tornado.Cash: 1 WBTC             Yes
    5a2ffad065CeaB4

20* 0xbB93e510BbCD0B7beb5A853      Tornado.Cash: 10 WBTC         Yes
    875f9eC60275CF498

21   0xd90e2f925DA726b50C4Ed8D0 Tornado.Cash: Router             No
     Fb90Ad053324F31b

22   0x58E8dCC13BE9780fC42E872     Tornado.Cash: Relayer Registry No
     3D8EaD4CF46943dF2

23   0x527653eA119F3E6a1F5BD18f    Tornado.Cash: Trees           No
     bF4714081D7B31ce

24   0xCa0840578f57fE71599D29375   Tornado.Cash: L1 Helper       No
     e16783424023357

25   0x722122dF12D4e14e13Ac3b689 Tornado.Cash: Proxy             No
     5a86e84145b6967

26   0x905b63Fff465B9fFBF41DeA9    Tornado.Cash: Old Proxy       No
     08CEb12478ec7601

27   0x94A1B5CdB22c43faab4AbEb5    Tornado.Cash: Mixer 1         No
     c74999895464Ddaf

28   0xb541fc07bC7619fD4062A54d9   Tornado.Cash: Mixer 2         No
     6268525cBC6FfEF

29   0xF60dD140cFf0706bAE9Cd734 Tornado.Cash: 10000 DAI          No
     Ac3ae76AD9eBC32A

30   0xb1C8094B234DcE6e03f10a5b6 Tornado.Cash: 500000 cDAI       No
     73c1d8C69739A00




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31   0xD691F27f38B395864Ea86CfC   Tornado.Cash: 10000 USDC       No
     7253969B409c362d



32   0xaEaaC358560e11f52454D997A Tornado.Cash: 5000 cUSDC        No
     AFF2c5731B6f8a6

33   0x1356c899D8C9467C7f71C1956 Tornado.Cash: 50000 cUSDC       No
     12F8A395aBf2f0a

34   0xA60C772958a3eD56c1F15dD0   Tornado.Cash: 500000 cUSDC     No
     55bA37AC8e523a0D


35   0xF67721A2D8F736E75a49FdD    Tornado.Cash: 10000 USDT       No
     7FAd2e31D8676542a


36   0x9AD122c22B14202B4490eDAf Tornado.Cash: 100000 USDT        No
     288FDb3C7cb3ff5E

37   0xDD4c48C0B24039969fC16D1    Gitcoin Grants: Tornado.cash   No
     cdF626eaB821d3384

38   0x8589427373D6D84E98730D7    Tornado.Cash: Donate           No
     795D8f6f8731FDA16




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